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                    8                              UNITED STATES DISTRICT COURT
                    9                             CENTRAL DISTRICT OF CALIFORNIA
                   10
                   11 ASCENTIS CORPORATION, a                       Case No. 5:22-cv-01015-ODW-KK
                      Delaware corporation,
                   12
                                  Plaintiff,                        PLAINTIFF ASCENTIS
                   13                                               CORPORATION’S
                            vs.                                     SUPPLEMENTAL BRIEF RE: ITS
                   14
                      ARTHUR “TY” HALL, IV, an                      NOTICE OF MOTION AND
                   15 individual,                                   MOTION TO COMPEL
                                           Defendant.               ARBITRATION AND STAY
                   16
                                                                    ACTION; POINTS AND
                   17                                               AUTHORITIES IN SUPPORT
                   18                                               THEREOF

                   19                                               Date:       November 14, 2022
                   20                                               Time:       1:30 p.m.
                                                                    Crtrm.:     First Street Courthouse 5D
                   21
                   22                                               Judge:      Hon. Otis D. Wright, II

                   23                                               Trial Date: None Set
                   24
                   25
                   26
                   27

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                    1 I.         Introduction.
                    2            This is Ascentis’s supplemental brief on its alter ego and equitable estoppel
                    3 arguments.1 Ascentis claims California law governs the alter ego issue; Ty Hall
                    4 (“Ty”)2 says Florida. The focus is the same either way. 3 The Court should find Ty is
                    5 GSS’s alter ego because he: (1) so dominated GSS that it had no separate identity;
                    6 (2) used millions of GSS’s dollars for his personal purposes; and, by doing so, (3)
                    7 left GSS unable to meet its liabilities. Further details follow.
                    8            GSS’s business was reselling Ascentis’s software to government employers.
                    9 (Compl., Doc. 1-1; Ex. A, ¶¶ 9, 102) Ascentis claims GSS breached the parties’
                   10 contract by charging Ascentis commissions for selling a product GSS was not
                   11 authorized to sell. (Compl., Doc. 1-1) Ascentis alleges Ty completed the scheme by
                   12 doctoring invoices to Ascentis to cover up the improper charges, or to falsely state
                   13 they were for authorized sales. (Id., ¶¶ 1, 35-40) Ty knew about GSS’s (and his
                   14 own) wrongdoing: he solely controlled GSS, knew it was not authorized to sell the
                   15 product, knew it was charging for the product, and sent the invoices at issue. (Ex. A,
                   16 ¶¶ 5-7, 75) In 2021, Ascentis’s internal audit revealed GSS had overcharged it
                   17 millions of dollars. On May 5, 2021, Ascentis sent Ty/GSS a demand letter for
                   18 more than $1.4 million. (Id., ¶ 100) GSS cannot pay; Ty’s left it insolvent.
                   19            Ascentis has been GSS’s only customer and sole source of income since
                   20 2015. (Id., ¶ 102) Ascentis paid GSS millions over the years. (Id., ¶ 47) Yet on the
                   21
                   22   1
                        Doc. 45 (Order re: Acentis’ Motion to Compel Arbitration (Doc. 17, the “Motion”)). Julian
                      Quattlebaum’s declaration (Ex. A) supports this brief.
                   23 2
                        This brief uses the Motion’s defined terms, except for clarity uses the Halls’ first names (“Ty”
                   24 and “Karen”). No disrespect is intended.

                   25   3
                        Compare Carlson Prod., LLC v. Clapper, 2022 U.S. Dist. Lexis 130523, 6, n.1 (N.D. Cal. 2022)
                      (three critical factors are: (1) commingling of assets; (2) disregard of corporate formalities as by
                   26 non-arm’s length transactions; and (3) inadequate capitalization) and Toho-Towa Co., Ltd. v.
                   27 Morgan Creek Prods., Inc., 217 Cal. App. 4th 1096, 1109 (2013) (entity so dominated it “had no
                      separate mind, will or existence of [its] own” (quotation omitted)) with Joint Stip. (Doc. 45), 11-12
LEWIS              28 (Ty: Florida factors are (1) shareholder domination/control, (2) fraudulent or improper use of
BRISBOIS              corporate form; (3) causing injury to claimant.).
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                    1 day Ty received Ascentis’s $1.4 million demand, GSS’s only asset was about
                    2 $112,000 it had in the bank. (Id., ¶¶ 47, 100) GSS was broke because Ty had used
                    3 his total control over GSS to use its assets for his personal benefit. (Id., e.g., ¶¶ 41-
                    4 42, 47, 94) Ty used GSS’s resources to acquire and operate yachts, and pay the
                    5 crew4 – even though it was not a GSS expense. (Id., ¶ 81)5 Ty admits the resources
                    6 were used for his personal boat trips and to fund a charter boat operation for another
                    7 of his entities (Hall Family Ventures, LLC (“HFV”)). (Id., ¶¶ 12, 46, 59, 62-65;
                    8 Clark Dec., Ex. B) GSS got nothing; Ty/his entities own the boats. (Id., ¶¶ 52, 55)
                    9            Ty was getting all of GSS’s assets one way or another. What money GSS had
                   10 left over from Ty’s spending on himself/his entities, Ty distributed to himself. (Id., ¶
                   11 96) Ty depleted GSS’s funds by more than $3.5 million just between the boats and
                   12 distributions alone. (Id., e.g., ¶¶ 47, 94) His other personal charges range from Ritz
                   13 and Waldorf Astoria resort club memberships, to eyebrow threading, to payments to
                   14 a caretaker for a house in St. Helena he bought for his daughter to live in during
                   15 culinary school. (Id., ¶¶ 25, 44-45, 74) Ty did not reimburse GSS. (Id., ¶ 37)
                   16            Ty was too busy using GSS’s assets to consider whether he had left it with
                   17 resources to meet its liabilities (he didn’t). (Id., ¶¶ 5-6, 95-97) Instead, Ty raided
                   18 taxpayers’ dollarscausing GSS to get SBA and PPP loans of about $175,000, then
                   19 used some of it to pay Offit Ervin to represent him and GSS. (Id., ¶¶ 47, 71)
                   20            Far from ensuring that GSS could meet its liabilities, Ty made sure it could
                   21 not. GSS was already insolvent the day it got Ascentis’s demand. (Id., ¶¶ 47, 100).
                   22 The day after Ty got that demand, he caused GSS to execute a $1+ million guaranty
                   23 on a bank loan for a luxury RV he wanted.6 (Id., ¶ 16) Again, GSS got no benefit.
                   24 HFV owns the RV. (Id., ¶¶ 16-17) As it was, GSS’s own financials reflect GSS’s
                   25
                        4
                        Ex. A, ¶¶ 42, 47, 51-53, 56, 58, 70.
                   26   5
                        GSS’s government clients could not receive gifts. Not even Christmas cards. (Id., ¶ 80)
                      6
                   27 GSS’s potential liabilities are considered for undercapitalization. Triyar Hosp. Mgmt., LLC v.
                      WSI (II)-HWP, LLC, 57 Cal. App. 5th 636, 642 (2020) (considering whether entity presently has
LEWIS              28 “sufficient assets to meet its debts.”); Nucal Foods, Inc. v. Quality Egg LLC, 887 F. Supp. 2d 997,
BRISBOIS              993 (E.D. Cal. 2012) (examining whether entity “currently underfunded or non-operational.”).
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                    1 cash balance at the end of September 2022 is -$49,148.22. Factoring GSS’s
                    2 potential liability to Ascentis or the bank, GSS is actually insolvent by more than $4
                    3 million. (Id., ¶¶ 16, 47, 100) Ty has not made the alter ego finding a close call, even
                    4 under Florida law. Eckhardt v. U.S., 2010 U.S. Dist. Lexis 142176, 21-23 (S.D. Fla.
                    5 2010) (finding improper purpose and piercing veil on summary judgment where
                    6 owner “depleted corporate funds for his own benefit while the corporation could not
                    7 pay its tax debts”), aff’d 463 F. App’x 852 (11th Cir. 2012).
                    8             Finally, equitable estoppel is an additional ground to grant the Motion.
                    9 II.         The Court should conclude that Ty is bound by the arbitration clause
                   10             that GSS signed (and Ty also signed), because he is its alter ego.
                   11             A summary judgment standard applies to the alter ego issue. Hansen v. LMB
                   12 Mortg. Servs., 1 F.4th 667, 670 (9th Cir. 2021). If there is a disputed issue of
                   13 material fact, the next step is “for the [D]istrict [C]ourt to ‘proceed summarily to [a
                   14 bench] trial’ on . . . whether [Ty] is bound by the arbitration agreement.” Id. at 673
                   15 (quoting 9 U.S.C. § 4). 7
                   16             A.       California law should govern the alter ego analysis; Ty should be
                   17                      judicially estopped from arguing Florida law controls.
                   18             GSS is a Florida limited liability company, so the internal affairs doctrine
                   19 would call for application of Florida alter ego law. But the parties’ contract contains
                   20 a California choice of law clause. (Ex. A, ¶ 5 (2010 contract § 18.5)). “[T]he Ninth
                   21 Circuit and California Supreme Court both have deferred to choice-of-law
                   22 provisions before the internal affairs doctrine.” Youngevity Int’l v. Smith, 2019 U.S.
                   23 Dist. Lexis 39790, 10 (S.D. Cal. 2019); Solomon v. Jacobson, 2016 U.S. Dist. Lexis
                   24 187741, 13-14 (C.D. Cal. 2016) (same). 8 As such, California law should govern.
                   25
                        7
                            Ty was required to request a jury by the time he filed his opposition, but did not. Klink v. ABC
                   26 Phones of N.C., Inc., 2021 U.S. Dist. Lexis 158042, 22 (N.D. Cal. 2021) (so noting).
                      8
                   27 In candor, there are a line of contrary cases, starting with Wehlage v. Empres Healthcare, Inc.,
                      821 F. Supp. 2d 1122, 1127-28 (N.D. Cal. 2011). These cases examine whether the choice of law
LEWIS              28 clause is collateral to the contract at issue. E.g., Greenlight Sys., LLC v. Breckenfelder, 2021 U.S.
BRISBOIS              Dist. Lexis 120288, 48-49 (N.D. Cal. 2021) (applying Cal. Corp. Code § 17708.01).
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                    1            But, the Court does not have to resolve the choice of law issue, for three
                    2 reasons. First, Ty waived the argument. Townsend v. Monster Bev. Corp., 303 F.
                    3 Supp. 3d 1010, 1036 (C.D. Cal. 2018) (failure to develop argument waives it). Prior
                    4 to the Court’s discovery order (Doc. 34), Ty made only passing reference to Florida
                    5 law (Doc. 10, 25:4). He never disputed the Motion’s argument or authorities that
                    6 California law applies (Doc. 17, 19:10). And his briefing (Docs. 10, 18, 27) presents
                    7 California alter ego authority, only. The Court should find he waived the argument.
                    8            Second, Ty should be judicially estopped from asserting Florida law because
                    9 he previously obtained an order limiting discovery (Doc. 38) by advancing
                   10 California law. See Joint. Stip. (Doc. 35) at 16-17 (Ty: Court “ordered discovery and
                   11 briefing [Doc. 34] on the first of th[e alter ego] elements only: unity of interest.”9)).
                   12 Ty should be estopped now because: (1) his Florida-law position is “clearly
                   13 inconsistent” with his earlier one; (2) he “succeeded in persuading [the C]ourt to
                   14 accept” that earlier position; and (3) he would “derive an unfair advantage” if he
                   15 could now insist on proof of another factor or another state’s test, having prevented
                   16 discovery on anything but California’s unity of interest factor. Bock v. Washington,
                   17 333 F.4th 1139, 1145 (9th Cir. 2022) (source of quotes).
                   18            Third, the Court need not resolve which states’ law governs because the
                   19 outcome is the same under each (infra, § II(B)). Kearney v. Salomon Smith Barney,
                   20 Inc., 39 Cal. 4th 95, 107-109 (2006) (no “true conflict;” governmental interest test);
                   21 Simpkins v. S. Wine & Spirits of Am., Inc., 2010 U.S. Dist. Lexis 91971, 12-14 and
                   22 n.2 (N.D. Cal. 2010) (same, Nedlloyd test).
                   23            B.        Standards applicable to the California and Florida alter ego tests.
                   24            Both states use factors as guides (supra n.1), but the focus is “that justice be
                   25 done.” Syscom Inc. v. Nakajima USA, Inc., 2020 U.S. Dist. Lexis 20321, 11-12
                   26
                   27   9
                       The “unity of interest” prong is a creature of California law, not Florida’s. Ascentis is not aware
                   28 of a case applying Florida’s alter ego law that considers it. See also Joint Stip. (Doc. 45) 11-12 (Ty
LEWIS                 explains Florida alter ego test; does not identify unity of interest as a factor).
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                    1 (C.D. Cal. 2020) (not a matter of counting factors for or against piercing); In re
                    2 Energy Smart, Inc., 381 B.R. 359, 379 (Bankr. M.D. Fla. 2007) (focus is prevenint
                    3 injustice). And because the doctrine “is founded on equitable principles...[it does]
                    4 not...depend upon prior decisions involving factual situations which appear to be
                    5 similar.…” Vista v. USPLabs, LLC, 2014 U.S. Dist. Lexis 154817, 5-6 (N.D. Cal.
                    6 2014); Syscom Inc., 2020 U.S. Dist. Lexis 20321 at 11-12 (“no litmus test;” will
                    7 “vary according to the circumstances of each case”); Eckhardt v. U.S., 463 F. App’x
                    8 852, 855 (11th Cir. 2012) (“heavily fact-specific”).
                    9            California has a “laundry list” of factors to the unity of interest analysis.
                   10 Beaver v. Omni Hotels Mgmt. Corp., 2021 U.S. Dist. Lexis 209429, 6-7 (C.D. Cal.
                   11 2021) (citing Assoc. Vendors, Inc. v. Oakland Meat Co., 210 Cal. App. 2d 825, 838-
                   12 40 (1962));10 Flint CPS Inks N. Am. LLC v. Trend Offset Printing Servs., 2020 U.S.
                   13 Dist. Lexis 246548, 12 (C.D. Cal. 2020) (list of factors “non-exclusive.”). Courts
                   14 have identified three factors as “especially critical” – commingling, disregard of
                   15 corporate formalities, and inadequate capitalization. Supra, n.1.
                   16            Florida permits an alter ego finding where: “(1) the shareholder dominated
                   17 and controlled the corporation . . . [so the] corporation's independent existence was
                   18 in fact non-existent . . . ; (2) the corporate form must have been used fraudulently or
                   19 for an improper purpose; and (3) the fraudulent or improper use of the corporate
                   20
                   21   10
                           Associated Vendors factors include: “Commingling of funds and other assets, failure to
                        segregate funds of the separate entities, and the unauthorized diversion of corporate funds or assets
                   22   to other than corporate uses … the treatment by an individual of the assets of the corporation as
                        his own … and the confusion of the records of the separate entities … the identification of the
                   23
                        equitable owners thereof with the domination and control of the two entities … the employment of
                   24   the same employees and/or attorney … the failure to adequately capitalize a corporation; the total
                        absence of corporate assets and undercapitalization … the use of a corporation as a mere shell,
                   25   instrumentality or conduit for a single venture or the business of an individual or another
                        corporation … [the] concealment of personal business activities … the disregard of legal
                   26   formalities and the failure to maintain arm’s length relationships among related entities … the use
                        of the corporate entity to procure labor, services or merchandise for another person or entity … the
                   27
                        diversion of assets from a corporation by or to a stockholder or other person or entity, to the
                   28   detriment of creditors, or the manipulation of assets and liabilities between entities so as to
LEWIS                   concentrate the assets in one and the liabilities in”other. 210 Cal. App. 2d at 838-40 (cleaned up).
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                    1 form caused injury to the claimant.” Eckhardt, 463 F. App’x at 855-56 (emphasis
                    2 added). Regarding the third factor, “Florida law does not require a party to prove
                    3 fraud to pierce the corporate veil.” Zhejiang Dushen Necktie Co. v. Blue Med., Inc.,
                    4 2017 U.S. Dist. Lexis 151210, 8 (S.D. Fla. 2017). Instead, Ty’s use of GSS’s “funds
                    5 . . . to pay [his] personal expenses” is “particularly relevant” to showing he so
                    6 “dominates his organization as in reality to negate its separate identity . . . .”
                    7 Eckhardt, 2010 U.S. Dist. Lexis 142176 at 21. That use establishes “improper
                    8 conduct” for the second and third factors. In re Sigma-Tech Sales, Inc., 570 B.R.
                    9 408, 417 (Bankr. S.D. Fla. 2017) (improper conduct includes “divert[ing] assets and
                   10 revenue” and using corporate funds to “continue supporting [the owners’] personal
                   11 lifestyle.”). Causation is established for the third factor where Ty’s improper use of
                   12 GSS’s funds “would prevent [a] creditor from collecting a debt.” TTT Foods
                   13 Holding Co. Ltd. Liab. Co. v. Namm, 2017 U.S. Dist. Lexis 77402, 28 (S.D. Fla.
                   14 2017); Preto. Realty I, LLC v. McCravy (In re McCravy), 2015 Bankr. Lexis 1955,
                   15 21-22 (S.D. Fla. 2015)).11
                   16            C.        Ty is GSS’s alter ego: he used its assets for himself and his other
                   17                      entities in non-arm’s-length transactions, leaving GSS insolvent
                   18                      1.    Ty dominated GSS; it had no separate will or existence
                   19            Again, both states’ first factor looks at whether Ty so dominated GSS that it
                   20 lacked a separate existence. As above, this can be established through proof of Ty’s
                   21 personal use of GSS’s assets, diversion to other entities’ use, or commingling. Toho-
                   22 Towa Co., Ltd., 217 Cal. App. 4th 1096, 1109 (2013) (factor established where
                   23 entity “but a business conduit for its principal.” (quotation omitted)); Eckhardt,
                   24 2010 U.S. Dist. Lexis 142176 at 21 (domination where “corporate funds were used
                   25 to pay the individual’s personal expenses”). 12
                   26
                        11
                   27    Accord (debtor’s valuable asset removed; “inarguably harmed PRIP, rendering it unable to
                      collect on its debts . . . satisfying the third and final prong of the veil piercing standard.”).
LEWIS              28 12 Compare Butler America, LLC v. Aviation Assur. Co., LLC, 55 Cal. App. 5th 136, 146 (2020)
BRISBOIS                (footnote continued)
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                    1            The decision in Relentless Air Racing, LLC v. Airborne Turbine Ltd.
                    2 Partnership is particularly instructive. 222 Cal. App. 4th 811, 814-16 (2013)
                    3 (affirming unity of interest finding based on trial court’s reasoning). In Relentless, a
                    4 married couple (the Fultons) were “the sole officers, members, shareholders, owners
                    5 and operators of the business entities.” Id.13 “The businesses [we]re operated in the
                    6 Fultons’ personal residence.” Id.14 “Money [was] freely transferred from the
                    7 businesses to the Fultons.” Id. 15 And although some corporate formalities were
                    8 followed, other evidence showed that “[c]orporate entities are used to procure labor
                    9 and services for the benefit of the Fultons and their other businesses . . . .” Id. 16 This
                   10 was “substantial evidence that the separate personalities of the business entities and
                   11 the individuals no longer exist.” Id. at 814. The similar facts here establish GSS’s
                   12 “sham corporate veil.”
                   13            Ty testified that he used GSS’s assets, credit card, payroll, and QuickBooks
                   14 programs to operate his other business entities because it was “convenient and less
                   15 expensive.” See Ex. A, ¶ 29-35; Assoc. Vendors, 210 Cal. App. 2d at 840 (“the use
                   16 of the corporate entity to procure labor, services or merchandise for another person
                   17 or entity”). That included using millions in GSS’s resources for charges associated
                   18 with the acquisition and operation of yachts for himself personally and his charter
                   19 boat service. See Ex. A, ¶¶ 42, 46-54, 56, 58-59. Ty even had GSS keep fake
                   20 employees on its payroll, who were actually crew for his personal yachts 17 and
                   21 charter trips. As part of the boat captain’s compensation, Ty let him use GSS’s
                   22
                   23
                        (owner/other entities properly added to judgment based on alter ego doctrine; defendant owned
                   24   and controlled all entities, disregarded formalities for keeping entities separate; and entities used
                        same office, shared employees, and commingled funds).
                   25   13
                           Ex. A, ¶¶ 10-11, 107 (Ty and Karen jointly own GSS, and are the only members/officers of the
                        other entities).
                   26   14
                           Ex. A, ¶ 108; compare Baize v. Eastridge Cos., LLC, 142 Cal. App. 4th 293, 299, 303-04 (2006)
                        (piercing veil; noting common ownership, shared employees, and shared offices).
                   27   15
                           E.g., Ex. A, ¶¶ 43, 41, 58, 83.
                        16
                   28      E.g., Ex. A, ¶¶ 12, 46-47, 50, 77, 81.
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                           See https://en.wikipedia.org/wiki/Yacht (defining yacht as a boat over 33-40ft long).
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                    1 credit card. Id., ¶¶ 60-64, 67, 69-70. 18 GSS’s former employee of 10+ years could
                    2 not even think of a GSS business purpose to be involved in such transactions. Id., ¶
                    3 81; Stewart v. Screen Gems-Emi Music, Inc., 81 F. Supp. 3d 938, 954 (N.D. Cal.
                    4 2015) (relevant that “related companies transfer assets among themselves for no
                    5 ascertainable reason.”); Boon Glob. Ltd. v. U.S. Dist. Court, 923 F.3d 643, 653-54
                    6 (9th Cir. 2019) (“free transfer of company assets” would “normally be [a] sign[] of a
                    7 sham corporate veil.”). And though her job entailed managing GSS’s QuickBooks,
                    8 neither she (nor Ty) could explain the boat-related transactions on GSS’s books.19
                    9 Id., ¶¶ 20, 56-57. GSS also failed to keep adequate records. Id., ¶¶ 20-21. 20 Ty’s use
                   10 of GSS’s assets for himself/his other entities did not end there. He used GSS’s funds
                   11 to pay for everything from luxury vacation clubs to eyebrow threading to a caretaker
                   12 for the house he provided for his daughter in California’s wine country. See Ex. A,
                   13 ¶¶ 25, 44-45, 74. 21 In fact, Ty so dominates GSS that GSS described itself as “his
                   14 company.” See Ex. A, ¶ 109; cf. McCombs v. Rudman, 197 Cal. App. 2d 46, 50
                   15 (1961) (alter ego; Court noted owner referred to company as “we”). This evidence
                   16 establishes the first factor in both jurisdictions’ tests (domination/commingling) as
                   17
                        18
                           It appears Ty even helped one crew member falsify income to dupe banks. See Ex. A, ¶¶ 62-68.
                   18   19
                           Compare Assoc. Vendors, 210 Cal. App. 2d at 838 (factors include “failure to maintain . . .
                        adequate corporate records, and the confusion of the records of the separate entities”).
                   19   20
                           TC Skyrocket, LLC v. Superskyrocket, LLC, 2008 U.S. Dist. Lexis 132413, 8-9 (S.D. Cal. 2008)
                   20   (commingling evidence included “use[ of] company resources . . . [for] toys, multiple trips to
                        beauty sales, and a Costco membership;” and payments to another entity the husband and wife
                   21   owned “for unspecified purposes;” Court noted the husband and wife members “failed to maintain
                        the necessary records to distinguish the business use from personal use.”); NEC Elecs. Inc. v.
                   22   Hurt, 208 Cal. App. 3d 772, 776-78 (1989) (Court affirmed alter ego finding but reversed on other
                        grounds; alter ego evidence was: “Ph also paid insurance, berthing fees, maintenance and fuel
                   23
                        expenses for a boat owned by Hurt.”). The Court can assume that the missing records would not
                   24   be helpful for Ty. See Depcom Power v. CSUN Solar, Inc., 2019 U.S. Dist. Lexis 80567, 12-14
                        (N.D. Cal. 2019) (party opposed alter ego finding with declaration testimony, although “objective
                   25   evidence could conclusively resolve some of the[] disputes;” although they were “uniquely
                        positioned to provide this evidence” they did not; so the “Court accord[ed] minimal weight” to the
                   26   declaration testimony).
                        21
                           Compare Aliya Medcare Fin., Ltd. Liab. Co. v. Nickell, 2015 U.S. Dist. Lexis 183172, 69-70
                   27
                        (C.D. Cal. 2015) (unity of interest/commingling shown, in part, by fact that “the timing of CTB’s
                   28   transfers of assets to Aliya was such that Nickell could have been using the funds to finance a
LEWIS                   personal investment”).
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                    1 well as the “improper use” to prove the second and third factors under Florida law.
                    2                      2.   Ty disregarded GSS’s legal formalities.
                    3             The evidence above of commingling and non-arm’s-length transactions also
                    4 establishes this factor. Triyar Hosp. Mgmt., LLC, 57 Cal. App. 5th at 642 (fact that
                    5 LLC’s members “could freely transfer funds among their legal entities and
                    6 commingle” them with their or the entities’ funds “to accomplish whatever purpose
                    7 they wish” was evidence supporting findings of failure to regard legal formalities,
                    8 maintain arm’s-length relationships among their entities, manipulation of assets, and
                    9 commingling). Additional evidence is the fact that Ty failed to protect GSS’s
                   10 existence. The Florida Secretary of State administratively dissolved GSS after it did
                   11 not submit an annual report in 2015. See Ex. A, ¶ 28. And GSS suffered a tax lien
                   12 after it failed to pay employment taxes. Id., ¶ 27; Carlson Produce, LLC v. Clapper,
                   13 2022 U.S. Dist. Lexis 130523, 7 (N.D. Cal. 2022) (disregard of corporate formalities
                   14 where “corporate status as ‘FTB Forfeited’” and entity was behind on its taxes).
                   15                      3.   There is an inequitable result as a matter of law.
                   16             The fact that Ty’s raids on GSS’s assets have left it a judgment-proof shell
                   17 establishes this factor in both jurisdictions. Relentless Air Racing, LLC, 222 Cal.
                   18 App. 4th at 813 (“Airborne is insolvent” so “this is an inequitable result as a matter
                   19 of law.”); Eckhardt, 2010 U.S. Dist. Lexis 142176 at 23 (personal use of assets
                   20 when entity could not pay debts); TTT Foods Holding Co., 2017 U.S. Dist. Lexis
                   21 77402 at 28 (personal use of assets leaving entity insolvent establishes causation).
                   22             Again, Ty did not make this a close call. He used GSS’s assets to acquire
                   23 expensive boats and RVs that he or his entities now own (Ex. A, ¶ 55), and he used
                   24 GSS to operate his other businesses for his profit. GSS has nothing to show for Ty’s
                   25 use of its assets – other than a $300,000 loss on the sale of a boat (id., ¶ 52) – since
                   26 Ty/his entities now own them. See id., ¶¶ 52, 55, 71;22 Assoc. Vendors, 210 Cal.
                   27

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                             Accord In re SK Foods, L.P., 499 B.R. 809, 841 (Bankr. E.D. Cal. 2013) (inequitable where
BRISBOIS                (footnote continued)
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                    1 App. 2d at 840 (factors include “diversion of assets . . . by or to a stockholder or
                    2 other . . . entity” and “the manipulation of assets and liabilities between entities so as
                    3 to concentrate the assets in one and the liabilities in another.”). Ty so drained GSS’s
                    4 resources that he has had to infuse money to “keep it operational.” See Ex. A, ¶¶ 90-
                    5 91. Even when GSS finally got money from another source (i.e., taxpayer loans), Ty
                    6 immediately dissipated it on GSS’s and his own legal expenses on his counsel in this
                    7 case. He simply does not consider whether GSS has assets to meet its liabilities. Id.,
                    8 ¶¶ 5-6, 37, 47, 71; Int’l Petroleum Prods. & Additive Co. v. Black Gold S.A.R.L.,
                    9 2021 U.S. Dist. Lexis. 251821, 6 (N.D. Cal. 2021) (same counsel represents entity
                   10 and owners both in arbitration and Court). Triyar’s conclusion is apt on this fact
                   11 pattern. There, the Court explained that a LLC member’s ability to “freely transfer
                   12 funds among [his] legal entities and commingle” those assets “to accomplish
                   13 whatever purpose they wish” does “not allow the [owner] . . . to [let the LLC] be[]
                   14 undercapitalized when its shareholders intend to avoid liability.” 57 Cal. App. 5th at
                   15 638, 642. Yet that is just what Ty did here – including by heaping another $1
                   16 million in liability on GSS the very day after he received Ascentis’s demand letter.
                   17 III.       The Court should apply equitable estoppel to compel Hall to arbitrate.
                   18            Ty should be equitably estopped from denying he must arbitrate because: (1)
                   19 he knowingly exploited the contract; (2) his conduct is intertwined with GSS’s; (3)
                   20 he got a direct benefit from the parties’ contract; and (4) of other considerations.23
                   21            In Comer v. Micor, Inc., 436 F.3d 1098, 1101-02 (9th Cir. 2006), the Court
                   22 explained that a party “knowingly exploits” an agreement by taking advantage of its
                   23 terms, or by pursuing legal action to enforce it. The test was not met in that case
                   24 because Comer was merely a passive plan participant. By contrast here, Ty is the
                   25 sole actor for GSS. He actively sought assurance that Ascentis would assume the
                   26
                   27
                      owners “siphon off” assets and give “nothing . . . in return” because “it harms the interests of the
LEWIS              28 corporation
                      23
                                   and its creditors.”).
BRISBOIS                 Ascentis stands by the grounds in its Motion, but will not repeat them.
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                    1 contract from its predecessor (Ex. A, ¶ 5), then he caused GSS to assert a $10+
                    2 million arbitration demand against Ascentis based on the contract containing the
                    3 arbitration clause. (Id., ¶¶ 8, 99) These facts call for Ty to be estopped. Exigen
                    4 Props. v. Genesys Telcoms. Labs., Inc., 2016 Cal. Super. Lexis 10696, 20 (the
                    5 “lynchpin for equitable estoppel is . . . fairness.”). Here, Ty has set up a situation of
                    6 “heads I win, tails you lose”: if GSS wins the arbitration, Ty gets the proceeds; if it
                    7 loses, Ty loses nothing because he has left GSS a judgment-proof shell. Compare
                    8 Verge Media Cos. v. Rober Tj, 2011 U.S. Dist. Lexis 169602, 41 (C.D. Cal. 2011)
                    9 (estoppel can apply to nonsignatory who had no obligations under contract but
                   10 reaped benefits). These same facts show Ty should be estopped based on his
                   11 intertwined conduct. Ty is the sole actor for GSS, and (as in the introduction) he is
                   12 integral in perpetrating the scheme that harmed Ascentis – the same dispute that is in
                   13 issue in the arbitration. Amisil Holdings Ltd. v. Clarium Capital Mgmt. LLC, 2006
                   14 U.S. Dist. Lexis 95007, 43-46 (C.D. Cal. 2006) (estoppel based on intertwined
                   15 claim; party could not use contract as sword and shield; efficiency of arbitration
                   16 thwarted if nonsignatory not in it).
                   17            Ty should also be estopped because he got a direct benefit from the contract.
                   18 There are direct benefits where the nonsignatory was involved in formation of the
                   19 contract and obtained an advantage from it. Verge Media Cos., 2011 U.S. Dist.
                   20 Lexis 169402 at 43; accord Hofer v. Emley, 2019 U.S. Dist. Lexis 161377, 16-17
                   21 (N.D. Cal. 2019) (passenger bound by arbitration clause in car rental contract due to
                   22 direct benefit; nonsignatory passenger encouraged signatory driver to rent car, and
                   23 got the benefit he wanted, i.e., a ride to spend holiday with family). Here, Ty wanted
                   24 the 2015 contract, He claims he personally gave a “major component” of the
                   25 consideration for it (non-compete), he actively sought to keep it in force, and he got
                   26 the very benefit he wanted – millions in profits for himself. See Ex. A, ¶¶ 5, 59.24
                   27

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                             Accord Falcon Ventures, LLC v. Haystack Vent. Int'l, LLC, 2017 U.S. Dist. LEXIS 225534, 19
BRISBOIS                (footnote continued)
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                    1            Finally, “estoppel is equitable” so the Court “has considerable discretion to
                    2 select a remedy that is appropriate . . . .” Amisil Holdings, Ltd., 2006 U.S. Dist.
                    3 Lexis 95007 at 45 (quotation omitted). The Court should order Ty to arbitrate so that
                    4 it does not reward his perjury, detailed below.
                    5 IV.        The Court should issue an order to show cause to address Ty’s perjury.
                    6            Ty and his counsel should be sanctioned pursuant to Fed. R. Civ. P. 11(b), 37,
                    7 28 U.S.C. § 1927, and the Court’s inherent power.25 The core of Ty’s opposition
                    8 was his declaration testimony that he is an “employee and minority member” of
                    9 GSS, and that GSS “is an independent software sales company which, during the
                   10 relevant timeframe, had its own employees (besides myself) . . . .” (Doc. 10-2, ¶¶ 5,
                   11 6, 13) Ty has since testified that all of those statements, and more, were false. (Ex.
                   12 A, ¶¶ 104-108, 110). Rather that correct the false testimony, Ty and his counsel
                   13 have compounded the problem. Despite knowing about the false statements for a
                   14 month or more, they did not timely correct them, forcing Ascentis to prove their
                   15 falsity in discovery. (Id., ¶¶ 16, 106-108) Instead, they waited until after Ty’s
                   16 deposition ended, then submitted a new declaration that repeats the perjured claim
                   17 that Ty is a current employee, and an errata which misleads the Court about the
                   18 materiality of Ty’s perjured statements. Compare Docs. 55, 56 (declaration and
                   19 errata which claims changes are immaterial) 26 with Resp. (Doc. 27) 19:20 and Dec.
                   20 (Doc. 10-2), ¶ 5 (using false statements as core of opposition).
                   21 V.         Conclusion.
                   22            Based on the foregoing, the Court should grant the Motion and award
                   23
                   24 (C.D. Cal. 2017) (owner “cannot seriously contend that he received no direct personal benefit”
                        from contract he signed in entity’s name); Mot. (Doc. 17 at 11 (Binder)), Reply (Doc. 30 at 12 (All
                   25   Metro)); Ex. A, ¶ 101 (improper instructions from counsel not to answer questions about benefits).
                        25
                           See Ins. Corp. of Ireland, Ltd. v. Compagnie des Bauxites de Guinee (Compagnie des Bauxites),
                   26   456 U.S. 694, 707 (1982) (affirming sanctions for disobedience to jurisdictional discovery order);
                        accord Compaq Computer Corp. v. Ergonome, Inc., 387 F.3d 403 (5th Cir. 2004) (affirming
                   27   discovery sanction order that determined officer was alter ego of entity).
                        26
                   28      Swisher Hygiene Franchise Corp. v. Clawson, 2018 U.S. Dist. Lexis 228711, 25 (D. Ariz.
LEWIS                   2018) (finding similar conduct to be misuse of errata procedure).
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                    1 Ascentis its fees based on the rules and statutes above, and per the parties’ contract.
                    2
                    3
                    4 DATED: October 21, 2022               CRAIG HOLDEN
                                                            JULIAN K. QUATTLEBAUM, IV
                    5
                                                            LEWIS BRISBOIS BISGAARD & SMITH LLP
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                    8                                       By:         /s/ Craig Holden
                    9                                             Craig Holden
                                                                  Attorneys for Plaintiff Ascentis
                   10                                             Corporation
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